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                     EXHIBIT A
Case 2:20-cv-09315-DMG-PD Document 1-1 Filed 10/09/20 Page 2 of 2 Page ID #:10


  From:            Gentry Beach
  To:              Rick Kofoed
  Cc:              Dan Kang; Chris Lee
  Subject:         Re: Air Queen
  Date:            Wednesday, May 6, 2020 11:38:58 AM


  Thank you

  Sent from my iPhone


         On May 6, 2020, at 1:34 PM, Rick Kofoed <rick@snsglobalusa.com> wrote:


         Dan, Thanks for sending the $1MM today as it is very important. As indicated this is
         similar to an Andy deal. I will send you my portion in the morning when I get to
         California.


         From: Rick Kofoed <rick@snsglobalusa.com>
         Date: Wednesday, May 6, 2020 at 11:26 AM
         To: Dan Kang <dan.k@mydailylive.com>
         Subject: FW: Air Queen




         From: Gentry Beach <gentrybeach@gmail.com>
         Date: Wednesday, May 6, 2020 at 9:49 AM
         To: Rick Kofoed <rick@snsglobalusa.com>
         Subject: Air Queen




         Sent from my iPhone
         <INV SOGSNS20200506.pdf>
